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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 14-MC-24887-PAS

 IN RE APPLICATION OF
 HORNBEAM CORPORATION

 REQUEST FOR DISCOVERY PURSUANT
 TO 28 U.S.C. § 1782
 ____________________________________/

    HALLIWEL ASSETS, INC. AND PANIKOS SYMEOU’S UNOPPOSED MOTION
       TO INTERVENE AND REQUEST FOR A COPY OF SEALED HEARING
    TRANSCRIPT AND INCORPORATED MEMORANDUM OF LAW IN SUPPORT

        Halliwel Assets, Inc. (“Halliwel”) and Panikos Symeou (“Mr. Panikos”) (together, “the

 Proposed Intervenors”) respectfully move this Court for permission to intervene in this matter

 pursuant to Federal Rule of Civil Procedure 24 in order to protect their interests in relation to the

 discovery requested by Applicant Hornbeam Corporation (“the Applicant” or “Hornbeam”) in its

 Application for an Order Granting Discovery Pursuant to 28 U.S.C. § 1782 [DE 1, 4]. The

 Proposed Intervenors seek to intervene given that Hornbeam admittedly is contemplating

 initiating litigation against both of them. See DE 4 at 1. Additionally, the Potential Intervenors

 seek the entry of an order directing the Clerk of Court to provide them a copy of the transcript of

 the February 10, 2015 ex parte hearing that is filed under seal. In that hearing, Magistrate

 Turnoff granted Hornbeam’s section 1782 application.        Hornbeam does not oppose the relief

 sought herein. In support hereof, the Proposed Intervenors state as follows:

        1.      On December 29, 2014, Hornbeam filed an ex parte Application for Discovery

 Pursuant to 28 U.S.C. § 1782 and Memorandum of Law in Support of that Application [DE 1, 4].

 According to Hornbeam, it is contemplating litigation against Halliwel and Mr. Panikos for the

 alleged violation of the BVI Business Companies Act of 2004 which it intends to file in the

 Commercial Division of the High Court of Justice, British Virgin Islands. See DE 4 at 1.
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        2.      On February 10, 2015, the Court held an ex parte hearing on the Application. The

 hearing transcript currently is filed under seal by the Clerk of Court’s office.

        3.      By order dated February 11, 2015, the Court granted the discovery sought in the

 Application and retained jurisdiction over the matter [DE 12].

        4.      The Proposed Intervenors seek to intervene in this matter given that they are

 potential defendants in the foreign litigation being contemplated by Hornbeam. Courts regularly

 hold that entities that are being sued or that will be sued in foreign proceedings can intervene in §

 1782 actions to protect their rights. See In re Consorcio Ecuatoriano de Telecomunicaciones

 S.A. v. JAS Forwarding (USA), Inc., 747 F.3d 1262, 1267 (11th Cir. 2014) (noting that

 participant in an arbitration for which discovery was being sought pursuant to § 1782

 successfully intervened in the § 1782 proceedings); Republic of Ecuador v. For Issuance of a

 Subpoena Under 28 U.S.C. 1782(a) for Taking of a Deposition of & Prod. of Documents by

 Stratus Consulting, Inc., 2013 WL 2477163, at *1 (D. Colo. 2013) (Chevron was permitted to

 intervene in § 1782 proceeding because it was “a party to the foreign proceeding that forms the

 basis for the Application” and “disposition of [the § 1782] action may impair or impede

 Chevron’s ability to protect its interest”); In re Braga, 272 F.R.D. 621, 623 (S.D. Fla. 2011)

 (recognizing that a bank was permitted to intervene in a § 1782 application that sought

 information from the bank’s attorneys).

        5.      Hornbeam does not oppose the intervention. As such, this Court should permit

 the Proposed Intervenors to participate in this action.

        6.      Additionally, the Proposed Intervenors seek the entry of an order directing the

 Clerk of Court to provide them a copy of the February 10, 2015 ex parte hearing transcript that is

 filed under seal. The Clerk’s office has informed the Proposed Intervenors that absent such an



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 order, it cannot provide a copy of the transcript as the hearing was held ex parte. The hearing

 was not, however, held under seal and thus the transcript should be made available to Proposed

 Intervenors.

        WHEREFORE, Halliwel and Panikos Symeou respectfully request that this Court

 permit it to intervene in this action and that it order the Clerk of Court’s office to provide a copy

 of the February 10, 2015 ex parte hearing transcript.

                             S.D. FLA. L.R. 7.1 CERTIFICATION

        Pursuant to S.D. Fla. L.R. 7.1(a)(3), the undersigned counsel certifies that he conferred

 with counsel for Hornbeam in good faith on the issues raised in this motion, and is advised that

 Hornbeam does not oppose the relief sought in this Motion to Intervene.

 Dated: March 14, 2016

                                                         Respectfully submitted,
                                                         ASTIGARRAGA DAVIS MULLINS &
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                                                         Panikos Symeou
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                                                         /s/ Edward M. Mullins_________
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via

 electronic filing using the CM/ECF filing system with the Clerk of the Court, which sent email

 notification of such filing to all CM/ECF participants in this case listed on the Service List on

 March 14, 2016.

                                                     s/Edward M. Mullins
                                                     Edward M. Mullins
                                                     Florida Bar No. 863920



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